    Case 3:21-cv-01080-E Document 7 Filed 06/10/21                   Page 1 of 2 PageID 18

      Case 3:21-cv-01080-E Document 6 Filed 05/13/21              Page 1 of 2 PagelD 16




                    Lee
                   Plaintiff
                      V.                          Civil Action No. 3:21-cv-01080-E

   New Era Asset Management LLC
                   Defe11da111


                                 Summons in a Civil A�tion
                                            C/0 UNITED STATES CORPORATION AGENTS, INC.
TO: New Era Asset Management LLC            7014 13TH AVENUE SUITE 202 ·
                                            BROOKLYN, NY I 1228

A lawsuit has been filed against you.

      Within 21 days after service of this summons on you (not counting the day you received
it)-- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2)or (3)--·you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff's attorney, whose name and address are:

    Victor Metroff
    2500 S Highland Ave
    Suite 200
    Lombard, IL 60148

    If you fail to respond,judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.




DATE: 05/13/2021
                                                      Signature of Clerk or Dep!lly Clerk
      Case 3:21-cv-01080-E Document 7 Filed 06/10/21                                 Page 2 of 2 PageID 19


                                 Affidavit of Process Server
UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF TEXAS
                                                      (NAME OF COURT)
ANDREWS. LEE                        vs NEW ERA ASSET MANAGEMENT LLC 3:21-cv-01080-E
     PLAINTIFF/PETITIONER                          DEFENDANT/RESPONDENT                           CASE NUMBER
I MATTHEW HAPPANEY                          , being first duly sworn, depose and say: that I am over the age of 18 years and
not a party to this action, and that within the boundaries of the state where service was effected, I was authorized by law to
perform said service.

Service: I served NEW ERA ASSET MANAGEMENT LLC, c/o UNITED STATES CORPORATION AGENTS, INC.
                                 NAME OF PERSON/ ENTITY BEING SERVED

with (list documents)   SUMMONS & COMPLAINT
by leaving with   MS. LISA KNIGHT_____ A U_TH O R Z          I _E_D_A_G_E_N_T
                                                                            ___ At
                           NAME       --ccRELATIONSHIP
                                           = ___ ,..,., = ,_
0 Residence==================================
                                     ADDRESS CITY/ STATE
ill Business 7014 13TH AVE 2ND FLOOR         BROOKLYN, NY 11228
                                     ADDRESS CITY/ STATE
On JUNE 4, 2021                           ___ Ar_2_:0_0_P_M_________
                     DATE                                             TIME
GZ1 Inquired if subject was a member of the U.S. Military and was informed they are not.

Thereafter copies of the documents were mailed by prepaid, first class mail on____________
                                                                                   DATE
from MINEOLA, NY 11501
              CITY               STATE                  ZIP
Manner of Service:
D Personal: By personally delivering copies to the person being served.
o Substituted at Residence: By leaving copies at the dwelling house or usual place of abode of the person being
served with a member of the household over the age of 18            and explaining the general nature of the papers.
1ll Substituted at Business: By leaving, during office hours, copies at the office of the person/entity being served with
the person apparently in charge thereof.
o Posting: By posting copies in a conspicuous manner to the front door of the person/entity being served.
Non-Service: After due search, careful inquiry and diligent attempts at the address(es) listed above, I have been
unable to effect process upon the person/entity being served because of the following reason(s):

D Unknown at Address     D Moved, Left no Forwarding D Service Cancelled by Litigant D Unable to Serve in Timely Fashion
D Address Does Not Exist D Other__________________________

Service Attempts: Service was attempted on: (1 '---==-----=-=-----(2)_�-,,,-:=----.,...,.,...=--
                                                 DATE    TIME         DATE         TIME

(3)__=--==----=--
     DATE
                  ---(4) -- _                                    _ ____ (5),__________
                          TIME                      DATE
                                                 TIME                                        DATE       TIME
             A
Description:. ge�Sex FEM RaceBLK Height_5_5
                                          ' _"__Weight 140LB




SUBSCRIBED AND SWORN to before me this               1      day of .JiJ,l\"l.,,          q2t by MATTHEW HAPPANEY,
Proved to me on the basis of satisfactory evidence to be the person(s) who appea d,6efore me.
                                         RONALD D. INGBER
                                    Notary Pubhc, State of New•¥orl<     -----::::��== ...--:
                                                                                            ,        '
                                                                                                   _.c e,--       =
                                          · No. 021N5014286                      SIGN      RE:'01= N OT�A-RY- �P-UB-L�IC___
                                       Qualified in Nassau County• ;;
   '9£:'.!T                        Oornmiasion Expires.October 5, 20.2l' NOTARY PUBLIC for the state of NEW YORK
  NAPP!i
    1i11l                 FORM2          NATIONAL ASSOCIATION OF PROFESSIONAL PROCESS SERVERS
